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                       Exhibit F
Case 1:21-cv-11404-TLL-PTM ECF No. 81-7, PageID.2043 Filed 10/17/23 Page 2 of 11
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     1                       UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
     2                            SOUTHERN DIVISION

     3
          JOHN LOFTUS, individually and
     4    on behalf of all others
          similarly situated,
     5
                     Plaintiff,
     6
          -v-                                                Case No. 21-cv-11809
     7
          OUTSIDE INTEGRATED MEDIA, LLC,
     8
                   Defendant.
     9    ______________________________/

   10

   11                           MOTION FOR FINAL APPROVAL
                             OF CLASS ACTION SETTLEMENT and
   12                          FOR ENTRY OF FINAL JUDGMENT

   13                         BEFORE JUDGE MARK A. GOLDSMITH

   14                All Parties Appearing Via Zoom Teleconference

   15                           Tuesday, August 9th, 2022.

   16

   17
          APPEARANCES:
   18
          FOR THE PLAINTIFF:           PHILIP L. FRAIETTA
   19                                  Bursor & Fisher, P.A.
                                       888 Seventh Avenue
   20                                  New York, NY 10019

   21
          FOR THE PLAINTIFF:           FRANK S. HEDIN
   22                                  Hedin Hall, LLP
                                       1395 Brickell Avenue
   23                                  Suite 1140
                                       Miami, FL 33131
   24

   25
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     1    (Appearances, continued):

     2
          FOR THE PLAINTIFF:           GREGORY A. MITCHELL
     3                                 The Miller Law Firm, P.C.
                                       950 West University Drive
     4                                 Suite 300
                                       Rochester, MI 48307
     5

     6    FOR THE DEFENDANT:           KRISTEN C. RODRIGUEZ
                                       Dentons, US LLP
     7                                 233 South Wacker Drive
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     9
          FOR THE DEFENDANT:           PETER B. KUPELIAN
   10                                  Clark Hill PLC
                                       151 South Old Woodward Avenue
   11                                  Suite 200
                                       Birmingham, MI 48009
   12

   13

   14     David B. Yarbrough, CSR, RMR, FCRR
          Official Court Reporter
   15     (313) 234-2619

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          NONE
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   15                                      EXHIBITS

   16     NONE

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     1             Detroit, Michigan.

     2             Tuesday, August 9th, 2022

     3             At or about 10:07 a.m.

     4                                 --     ---      --

     5               THE CLERK OF THE COURT:         Calling case number

     6    21-11809, Loftus versus Outside Integrated Media, LLC.

     7    Counsel, please place your appearances on the record.

     8               MR. FRAIETTA:     Good morning, your Honor.        Phil

     9    Fraietta of Bursor and Fisher for plaintiff in the class.

   10                MR. HEDIN:     Good morning.      Frank Hedin also for the

   11     plaintiff in the class.

   12                MR. MITCHELL:     Gregory Mitchell from the Miller Law

   13     Firm, plaintiff in the class.

   14                MS. RODRIGUEZ:     Good morning, your Honor.        Kristen

   15     Rodriguez for defendant.

   16                MR. KUPELIAN:     Good morning, your Honor.        Peter

   17     Kupelian, Clark Hill for the defendant as well.

   18                THE COURT:     All right.      Good morning, everybody.       We

   19     are conducting this Zoom hearing today on a motion to approve

   20     the settlement, final approval and also there's a motion for

   21     attorney's fees and costs, so I'll let plaintiffs lead off.

   22                MR. FRAIETTA:     Yes.    Thank you, your Honor.       I'll be

   23     brief.    As you said, we're here to finally approve this

   24     class-action settlement.       The settlement provides for a

   25     non-reversionary common fund just under a million dollars, it
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     1    as $998,406.92 to be exact.

     2               THE COURT:     Just a moment, pardon me.       I see our

     3    court reporter is having little difficulty hearing.             Let's go

     4    off the record for a second.

     5               (Off the record)

     6               THE COURT:     Okay.   Let's try this again.       Let's go

     7    back on the record.      Go ahead.

     8               MR. FRAIETTA:     Yes, thank you.      Your Honor, so as I

     9    was saying we're here on final approval of a class-action

   10     settlement.     The settlement provides for non-reversionary

   11     common fund of just under a million dollars.            It's 998,00 and

   12     change to be exact.      The court-approved notice plan was

   13     administered and 99.75 percent, nearly 100 percent of the class

   14     received direct notice of the settlement and the reaction was

   15     overwhelmingly positive.       Zero class members objected; zero

   16     asked to be excluded.

   17                We are projecting that each class member will

   18     automatically receive 50 dollars.         This settlement did not

   19     require class members to file claims so unlike most class

   20     action settlements where northwards of 90 percent of class

   21     members receive nothing, that's not the case here.             Everybody's

   22     going to automatically receive 50 dollars as long as they did

   23     not opt out and because nobody opted out, everyone's going to

   24     receive about 50 bucks.       So we believe the settlement is well

   25     within the reasonable.       Papers point two a number of prior
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     1    settlements that have been reached under this statute.                We

     2    believe that this settlement outperforms those both in total

     3    compensation and structure on a per-class-member basis.

     4               In connection with the settlement, we also requested

     5    attorney's fees of 35 percent of the settlement fund.             That

     6    percentage is also consistent with precedent in this district.

     7    We cited a number of cases including Kinder v. Meredith,

     8    Kokosvki v. Playboy and Perlin v. Time where requests are of 35

     9    percent or in the case of Time, 40 percent were approved by

   10     courts in this district so we believe that our fee request is

   11     justified here especially in light of the substantial result

   12     that we were able to negotiate for class members in an

   13     efficient manner as well.

   14                As the Court noted at the preliminary approval

   15     hearing, this is not a matter where plaintiff's counsel and

   16     defense counsel spent needless effort on litigation.             We

   17     recognized this case could settle, we proceeded to mediation

   18     promptly and were able to work it out on terms that I believe

   19     are very favorable for the class, so we submit that this

   20     settlement and attorney's fee request should be approved.

   21                We submitted a proposed order which if the Court

   22     signs the proposed order will approve the settlement and fee

   23     request and everything in connection with that, so we, we

   24     respect the Court sign that order and we can begin

   25     administering the payments to the class members.
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     1                THE COURT:    All right.    Do we need to hear from any

     2    other plaintiffs' attorneys?

     3                MR. HEDIN:    No, your Honor.

     4                THE COURT:    All right.    Let's turn it over to the

     5    defense.     Anything for the defense side?

     6                MS. RODRIGUEZ:    Your Honor, Kristen Rodriguez for the

     7    record.     We have nothing further to add to Mr. Fraietta's

     8    comments.     We support final approval of the settlement.

     9                THE COURT:    All right.    Well, I have reviewed the

   10     papers that have been submitted and I do approve the

   11     settlement.     I think both sides have done very good work in

   12     trying to bring this matter to a very prompt conclusion without

   13     unnecessary attorney time and I think the class has benefited

   14     in a concrete way and the extent of the class participation is

   15     impressive and the attorneys representing the class are to be

   16     congratulated on their very effective work on behalf of the

   17     class.     I do think the settlement is a fair and reasonable one.

   18                 I also think the attorney fee request is reasonable

   19     as well.     The attorneys did work very hard pre-suit and after

   20     suit.     I know there were mediation efforts that obviously bore

   21     fruit here and I think the request for 35 present is in line

   22     with what other courts have approved and especially in this

   23     context where the lawyers did produce significant results for

   24     the class in very short order.         I think they should be rewarded

   25     appropriately for having done a very effective job as class
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     1    counsel, so I'm going to approve the request for fees and costs

     2    and the costs were reasonable as well.          Is there anything else

     3    that we need to address on the record at this time?

     4                MR. FRAIETTA:     No, nothing further from plaintiffs,

     5    your Honor.     Thank you.

     6                MR. HEDIN:    Your Honor, this is frank Hedin, if I may

     7    be heard?     The named class representative additionally

     8    requested a service award.        That's also before the Court for

     9    approval as well I believe.

   10                 THE COURT:    Yes, I'm approving that as well.         I did

   11     not mention that expressly, but I did see that request and I

   12     think it's appropriate.        The class representative was effective

   13     and did work along side the lawyers to bring about this result

   14     for the class and the request for 5,000 dollars is an

   15     appropriate request under all the circumstances, so I'll

   16     approve that as well.        All right.    I think then anything for

   17     the defense that we need to address?

   18                 MS. RODRIGUEZ:     Nothing for the defense, your Honor.

   19     Thank you for allowing us to conduct this hearing via Zoom.

   20                 THE COURT:    All right.      My pleasure and again I want

   21     to thank the lawyers for doing a very professional job on all

   22     sides here.     I think you folks are the role models for your

   23     colleagues out there.        I think when lawyers work together, they

   24     can bring about resolution in an effective and prompt way and I

   25     think that's a great benefit to their clients' benefit and I
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     1    think that also serves administration of justice.             So

     2    congratulations for bringing that about.

     3                I do want to thank Mr. Yarbrough for his fine work as

     4    always as our court reporter and to Ms. Roat whose seat I'm now

     5    occupying actually.       My little name plate up there

     6    misidentifies me, but I'm filling a very big seat here.              She's

     7    been a terrific law clerk for me and I want to thank her

     8    publicly for her assistance in this matter.            Thank you all.

     9    Have a great day.      That concludes our hearing.        Thank you.

    10                MR. FRAIETTA:     Thank you, your Honor.

    11                MS. RODRIGUEZ:     Thank you, your Honor.

    12                (Hearing concluded at 10:17 a.m.)

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      1                           C E R T I F I C A T E

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      7                I, David B. Yarbrough, Official Court

      8    Reporter, do hereby certify that the foregoing pages

      9    comprise a true and accurate transcript of the

     10    proceedings taken by me in this matter on Tuesday,

     11    August 9th, 2022.

     12

     13

     14

     15

     16    9/8/2022                         /s/ David B. Yarbrough

     17    Date                             David B. Yarbrough,
                                            (CSR, RPR, FCRR, RMR)
     18                                     231 W. Lafayette Blvd.
                                            Detroit, MI 48226
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